               Case 2:13-cr-02092-LRS                      ECF No. 1239              filed 03/21/14         PageID.4582 Page 1 of 5
                                                                                                                                          FILED IN THE
 2$2%       5HY -XGJPHQWLQD&ULPLQDO&DVH                                                                              U.S. DISTRICT COURT
                6KHHW5HYLVHGE\:$('                                                                              EASTERN DISTRICT OF WASHINGTON



                                                                                                                                 Mar 21, 2014
                                              81,7('67$7(6',675,&7&2857                                                           SEAN F. MCAVOY, CLERK

                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ
           81,7('67$7(62)$0(5,&$                                            JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                              &DVH1XPEHU           2:13CR02092-024
                 ALEJANDRO ARELLANO
                                                                              8601XPEHU            16828-085
                            a/k/a Alex
                                                                                     Richard D. Wall
                                                                              'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     76 of the Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                    Nature of Offense                                                                          Offense Ended        Count
18 U.S.C. § 1167(a)               Theft from a Gaming Establishment Less Than $1,000                                              04/03/13            76




        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                        5        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔&RXQW V
 G                all remaing                                G LV       ✔DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                        G
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               3/20/2014
                                                              'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                              6LJQDWXUHRI-XGJH




                                                             The Honorable Lonny R. Suko                          Senior Judge, U.S. District Court
                                                              
                                                              1DPHDQG7LWOHRI-XGJH

                                                                     3/21/2014
                                                              'DWH
                                                              
              Case 2:13-cr-02092-LRS                      ECF No. 1239      filed 03/21/14        PageID.4583 Page 2 of 5
$2%       5HY -XGJPHQWLQD&ULPLQDO&DVH
             6KHHW²3UREDWLRQ

                                                                                                           -XGJPHQW²3DJH    2      RI         5
'()(1'$17 ALEJANDRO ARELLANO
&$6(180%(5 2:13CR02092-024
                                                                 PROBATION
7KHGHIHQGDQWLVKHUHE\VHQWHQFHGWRSUREDWLRQIRUDWHUPRI          3 years.




7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRISODFHPHQWRQSUREDWLRQDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
      IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)
G 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
G 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq
      DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
      ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)
G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
       ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRISUREDWLRQWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH6FKHGXOHRI
3D\PHQWVVKHHWRIWKLVMXGJPHQW
         7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDOFRQGLWLRQV
RQWKHDWWDFKHGSDJH

                                          STANDARD CONDITIONS OF SUPERVISION
         WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
         WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQXQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
          DFFHSWDEOHUHDVRQV
         WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
         WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\FRQWUROOHG
          VXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
         WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
         WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
          IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
          FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
        WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQ LQIRUPHURUDVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRX WWKH
          SHUPLVVLRQRIWKHFRXUWDQG
        DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
          UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWKHSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
          GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
           Case 2:13-cr-02092-LRS                     ECF No. 1239     filed 03/21/14        PageID.4584 Page 3 of 5
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW&²3UREDWLRQ
                                                                                                     -XGJPHQW²3DJH     3     RI        5
'()(1'$17 ALEJANDRO ARELLANO
&$6(180%(5 2:13CR02092-024

                                         SPECIAL CONDITIONS OF SUPERVISION
 14) You shall provide the supervising officer with access to any requested financial information, including authorization to conduct
 credit checks and obtain copies of your Federal income tax returns. You shall disclose all assets and liabilities to the supervising
 officer. You shall not transfer, sell, give away, or otherwise convey any asset, without the advance approval of the supervising officer.

 15) You shall not incur any new debt, open additional lines of credit, or enter into any financial contracts, without the advance approval
 of the supervising officer.

 16) You shall enter into and actively participate in a GED program as directed by the supervising officer.
            Case 2:13-cr-02092-LRS                     ECF No. 1239      filed 03/21/14        PageID.4585 Page 4 of 5
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      4      RI         5
'()(1'$17 ALEJANDRO ARELLANO
&$6(180%(5 2:13CR02092-024
                                                CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                    Fine                                  Restitution
TOTALS                $25.00                                        $0.00                                 $750.00


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO            $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                        Total Loss*          Restitution Ordered        Priority or Percentage

  Yakama Nation Legends Casino                                                  $750.00                   $750.00




TOTALS                                                    750.00                             750.00


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

✔
G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      ✔ WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G
      G                                                   ✔ UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
             Case 2:13-cr-02092-LRS                      ECF No. 1239         filed 03/21/14     PageID.4586 Page 5 of 5
$2%      5HY -XGJPHQWLQD&ULPLQDO&DVH
            6KHHW²6FKHGXOHRI3D\PHQWV

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'()(1'$17 ALEJANDRO ARELLANO
&$6(180%(5 2:13CR02092-024

                                                         SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A    G     /XPSVXPSD\PHQWRI                             GXHLPPHGLDWHO\EDODQFHGXH

           G      QRWODWHUWKDQ                                   RU
           G      LQDFFRUGDQFH           G &          G '   G     (RU    G )EHORZRU
B    ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
     G                                                                       G &    G 'RU     ✔)EHORZ RU
                                                                                                 G
C    G     3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G     3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

E    G     3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G
     While on supervised release, monetary penalties are payable on a monthly basis of not less than 10% of the defendant's net
     household income, whichever is larger, commencing 30 days hereafter.




8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
GXULQJLPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW&RXUW$WWHQWLRQ
)LQDQFH32%R[6SRNDQH:$

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

✔ -RLQWDQG6HYHUDO
G
     &DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU DQG'HIHQGDQWDQG&R'HIHQGDQW1DPHV7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH
          CR-13-02092-LRS-1 Juan Reyes Correa                      $750.00           $750.00
          CR-13-02092-LRS-8 Ricardo Garcia                         $750.00           $750.00


G    7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G    7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

G    7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
